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                                                                                  FILED
                                                                            February 08, 2024
                                                                           CLERK, U.S. DISTRICT COURT
                                                                           WESTERN DISTRICT OF TEXAS

                                                                                  Fidel Morales
                                                                        BY: ________________________________
                                                                                                DEPUTY




                                                               EP:24-M-00592-MAT




Complaint sworn to telephonically on
  February 08, 2024
____________        at __________
                          02:00 PM and signed
electronically. FED.R.CRIM.P. 4.1(b)(2)(A)
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